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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
MELISSA MINISCI,                                          :                            1/11/2021
                                                          :
                                         Plaintiff,       :
                                                          :              20-CV-7982 (VSB)
                           -against-                      :
                                                          :                  ORDER
MAGNA HOSPITALITY GROUP, et al.,                          :
                                                          :
                                         Defendants. :
                                                          :
--------------------------------------------------------- X

VERNON S. BRODERICK, United States District Judge:

         I am in receipt of Plaintiff’s letter dated January 5, 2021, describing the parties’ ongoing

dispute regarding the legal existence of Defendant Element By Westin Times Square

(“Element”). (Doc. 13.) The parties should consider a stipulation to the effect that Defendants

will not later claim that because the Complaint does not name Element, LG-39 Management

LLC is relieved of liability. Regardless, I am inclined to grant Plaintiff leave to amend the

complaint.

Accordingly, it is hereby:

         ORDERED that, no later than January 18, 2021, Plaintiff shall file any amended

complaint naming the proper defendants.

SO ORDERED.

Dated:       January 11, 2021
             New York, New York                               ________________________________
                                                              VERNON S. BRODERICK
                                                              United States District Judge
